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October 20, 2020

| Jol u/ rr?
United States District Court
Southern District of New York At

500 Pearl Street, Chambers 1350 fly neguel ” jones
New York, NY 10007

Attn: The Honorable Paul A. Crotty, U.S.D.J te nda

Jk ewig

Re: Request to Travel, Daniel Jeminez, Case No. 18 Cr. 404 (PAC) »
LAD

Dear Judge Crotty:

Greetings. My law office represents the defendant in the above-mentioned case.

Mr. Jeminez seeks permission to travel from, the New. Jersey to the F Florida (the address .

has been furnished to the Pre-Trial offi cers. and AUSA and, is of course, available to the. oe :

2020 to November 3, 2020. He | is 5 presently being supervised by Pretrial Officer + Sandra -
Marin as a courtesy of New Jersey Pretrial Services. Ms. Marin has no objection to this
request. My office has also contacted Southern District Pretrial Officer Rena Bolin and
Assistant United States Attorney Adam Sloan Hobson, and they have no opposition to
his travel request.

So, without objection we ask that the Court grant his request to travel and advise

us forthwith.

 
